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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

Plumbers Pension Fund, Local 130 U.A., et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:19−cv−06670
                                                              Honorable Martha M. Pacold
Starr Plumbing, Inc.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 5, 2020:


       MINUTE entry before the Honorable Martha M. Pacold:Status hearing held on
3/5/2020. Plaintiffs' counsel appeared. Status hearing continued to 4/2/2020 at 9:30
a.m.(rao, )




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